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 6                       IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9   Fernando Gastelum,                                  No. CV-17-03120-PHX-JJT
10                   Plaintiff,                          ORDER
11   v.
12   JIVAN LLC,
13                   Defendant.
14
15          On November 27, 2018, this Court entered an Order in part “tentatively adopt[ing]
16   the factual findings and legal conclusions of Judge Snow in Gastelum v. Canyon Hospital
17   LLC, No. CV-17-02792-PHX-GMS, 2018 WL 2388047 (D. Ariz. May 25, 2018), with
18   respect to Plaintiff’s Article III standing in this matter,” and requiring Plaintiff to file a
19   brief no later than December 14, 2018, “showing cause why the Complaint (Doc. 1) should
20   not be dismissed for lack of standing based on the factual findings and legal conclusions
21   of Gastelum v. Canyon Hospital LLC, No. CV-17-02792-PHX-GMS, 2018 WL 2388047
22   (D. Ariz. May 25, 2018).” (Doc. 23 at 1-2.) It is now well past December 14, 2018, and
23   Plaintiff has filed nothing. Plaintiff has therefore failed to show cause.
24          IT IS ORDERED adopting the factual findings and legal conclusions of Judge Snow
25   in Gastelum v. Canyon Hospital LLC, No. CV-17-02792-PHX-GMS, 2018 WL 2388047
26   (D. Ariz. May 25, 2018). And concluding that Plaintiff has failed to show he has Article
27   III standing in this matter.
28          IT IS FURTHER ORDERED dismissing with prejudice the Complaint (Doc. 1) and
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 1   this matter for lack of standing. The Clerk of Court shall terminate the matter.
 2          Dated this 19th day of December, 2018.
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                                           Honorable John J. Tuchi
 5                                         United States District Judge
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